            Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 1 of 11




GILL & GILL, S.C.
501 S. Nicolet Road                                                      USDC SDNY
Appleton, WI 54914                                                       DOCUMENT
Email: gillsr@gillandgillsc.com                                          ELECTRONICALLY FILED
Phone: 920-739-1107                                                      DOC #:
ATTORNEYS FOR DEFENDANT                                                  DATE FILED: 11/2/2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       X

SHAEL CRUZ, on behalf of himself and all
others similarly situated,

                                      Plaintiffs,
                                                             Index No.: 1:20-cv-05142-MKV
-against-

WIGWAM MILLS, INC.

                                      Defendant.
                                                       X




                                     CONSENT DECREE

                1.    This Consent Decree is entered into as of the Effective Date, as defined

below in Paragraph 10, by and between the following parties: Plaintiff SHAEL CRUZ

(“Plaintiff”), and Defendant, WIGWAM MILLS, INC. (“Defendant”). Plaintiff and Defendant

shall hereinafter be collectively referred to as, the “Parties” for the purposes and on the terms

specified herein.

                                          RECITALS

                2.    Title III of the Americans with Disabilities Act of 1990 (“ADA”), 42

U.S.C. §§ 12181-12189 (“ADA”) and its implementing regulation, 28 C.F.R. pt. 36, prohibit

discrimination on the basis of disability in the full and equal enjoyment of the goods, services,

facilities, privileges, advantages, and accommodations by any private entity that owns, leases



                                                1
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 2 of 11




(or leases to), or operates any place of public accommodation. 42 U.S.C. § 12182(a); 28 C.F.R.

§ 36.201(a).

               3.     On or about July 6, 2020 Plaintiff filed this lawsuit in the U.S. District

Court for the Southern District of New York entitled SHAEL CRUZ v. WIGWAM MILLS, INC.

(Docket No. 1:20-cv-05142-MKV) (the “Action”). The Plaintiff alleged that Defendant’s

website: www.wigwam.com (the “Website”), is not fully accessible to individuals with

disabilities in violation of Title III of the Americans with Disabilities Act of 1990 (“ADA”), and

the New York City Human Rights Law (“NYCHRL”).

               4.     Defendant expressly denies that the Website violates any federal, state or

local law, including the ADA and the NYCHRL, and any other wrongdoing or liability whatsoever.

By entry into this Consent Decree, Defendant does not admit any wrongdoing.

               5.     This Consent Decree resolves, settles, and compromises all issues

between the Parties in the Action.

               6.      This Consent Decree is entered into by the Plaintiff, individually.

                                        JURISDICTION

               7.     Plaintiff alleges that Defendant is a private entity that owns and/or

operates the Website which is available through the internet to personal computers, laptops,

mobile devices, tablets, and other similar technology. Plaintiff contends that Defendant’s

Website is a service, privilege, or advantage of the Defendant’s physical locations, thus

rendering it a public accommodation subject to Title III of the ADA. 42 U.S.C. §12181(7);

12182(a). Defendant denies that its Website is a public accommodation or a place of public

accommodation or are otherwise subject to Title III of the ADA.




                                                2
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 3 of 11




               8.       This Court has jurisdiction over this action under 28 U.S.C. § 1331, and

42 U.S.C. § 12188. The Parties agree that for purposes of the Action and this Consent Decree

venue is appropriate.

                                    AGREED RESOLUTION

               9.       Plaintiff and Defendant agree that it is in the Parties’ best interest to

resolve the Action on mutually agreeable terms without further litigation. Accordingly, the

Parties agree to the entry of this Consent Decree without trial or further adjudication of any

issues of fact or law raised in Plaintiff's Complaint. In resolution of this action, the Parties

hereby AGREE to the following:

                                         DEFINITIONS

               10.      Effective Date means the date on which this Consent Decree is entered

on the Court’s Docket Sheet following approval by the Court.

               11.      Reasonable Efforts means, with respect to a given goal or obligation, the

efforts that a reasonable person or entity in Defendant's position would use to achieve that goal

or obligation. Any disagreement by the Parties as to whether Defendant has used Reas onable

Efforts as provided for under this Consent Decree shall be subject to the dispute resolution

procedures set forth in paragraphs 16 through 29 of this Consent Decree. Reasonable Efforts

shall be interpreted so as to not require Defendant to undertake efforts whose cost, difficulty

or impact on Defendant’s Website could constitute an undue burden, as defined in Title III of

the ADA but as applied solely to Defendant’s Website - as though they are collectively a

standalone business entity, or which could result in a fundamental alteration in the manner in

which Defendant operates its Website - or the primary functions related thereto, or which could

result in a loss of revenue or traffic on its Website related operations.



                                                 3
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 4 of 11




                                            TERM

              12.     The term of this Consent Decree shall commence as of the Effective Date

and remain in effect for the earlier of: (1) twenty four (24) months from the Effective Date; or

(b) the date, if any, that the regulations are adopted in the Department of Justice’s anticipated

proposed regulations for websites under Title III of the ADA.

                    GENERAL NONDISCRIMINATION REQUIREMENTS

              13.     Pursuant to the terms of this Consent Decree, Defendant:

                      a. Shall not deny persons with a disability (as defined under the ADA),

                          including the Plaintiff, the opportunity to participate in and benefit

                          from    the    goods,       services,   privileges,   advantages,   and

                          accommodations through its Website as set forth herein. 42 U.S.C.

                          §12182(b)(1)(A)(i); 28 C.F.R. § 36.202(a);

                      b. shall use Reasonable Efforts to provide persons with a disability (as

                          defined under the ADA), including the Plaintiff, an equal opportunity

                          to participate in or benefit from the goods, services, privileges,

                          advantages, and accommodations provided through its Website as set

                          forth herein. 42 U.S.C. § 12182(b)(2)(A)(ii); 28 C.F.R. § 36.202(b);

                          and

                      c. shall use Reasonable Efforts to ensure that persons with a disability

                          (as defined under the ADA), including the Plaintiff, are not excluded,

                          denied services, segregated, or otherwise treated differently because

                          of the absence of auxiliary aids and services, through its Website as

                          set forth herein. 42 U.S.C. § 12182(b)(2)(A)(iii); 28 C.F.R. § 36.303.



                                                  4
         Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 5 of 11




                       COMPLIANCE WITH TITLE III OF THE ADA

               14.    Web Accessibility Conformance Timeline: Defendant shall ensure full

and equal enjoyment of the goods, services, privileges, advantages, and accommodations

provided by and through the Website according to the following timeline and requirements

provided that the following dates will be extended in the instance that the Department of Justice

releases regulations for websites under Title III of the ADA while this Consent Decree is in

effect and which contain compliance dates and/or deadlines further in the future than the dates

set forth herein:

                      a. Within twelve (12) months of the Effective Date, the Defendant shall

                          ensure that the Websites substantially conform to the Web Content

                          Accessibility Guidelines 2.0 Level A and AA Success Criteria

                          ("WCAG 2.0 AA") in such a manner so that the Website will be

                          accessible to persons with disabilities as set forth in Paragraph 26

                          below.

                      b. Defendant shall not be responsible for ensuring that third party

                          content or plug-ins that are not owned by Defendant, but are

                          otherwise located on the Website or linked to from the Website, are

                          accessible or otherwise conform to WCAG 2.0 AA.

                      c. Between the Effective Date and twelve (12) months from the

                          Effective Date, Defendant shall test the Website on a periodic basis

                          with assistive technology such as screen readers and screen

                          magnifiers, and with users with disabilities who use these

                          technologies.



                                               5
         Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 6 of 11




                              SPECIFIC RELIEF TO PLAINTIFF

               15.     Specific Relief: The Plaintiff and the Defendant have agreed to settle all

matters relating to costs, damages, attorneys’ fees, experts’ fees, other financial matters,

relating to any alleged inaccessibility of the Website through a separate agreement,

confidential agreement (the “Settlement Agreement”) which is hereby not incorporated by

reference into this Consent Decree.

                       PROCEDURES IN THE EVENT OF DISPUTES

               16.     The procedures set forth in Paragraphs 17 through 19 must be exhausted

in the event that (i) Plaintiff alleges that Defendant has failed to meet its obligations pursuant

to this Consent Decree or (ii) Defendant alleges that there is a criteria of WCAG 2.0 AA with

which it cannot substantially comply as set forth herein. There will be no breach of this Consent

Decree by Defendant in connection with such allegations until the following procedures have

been exhausted.

               17.     If a party believes that the other party hereto has not complied in all

material respects with any provision of the Consent Decree, that party shall provide the other

party with written notice of non-compliance containing the following information: (i) the

alleged act of non-compliance; (ii) a reference to the specific provision(s) of the Consent

Decree that is not being complied with in all material respects; (iii) a statement of the remedial

action sought by the initiating party; and (iv) a reasonably detailed statement of the specific

facts, circumstances and legal argument supporting the position of the initiating party. Plaintiff

will notify Defendant in writing after the dates for compliance set forth herein if Plaintiff

believes that the Website is in any way not compliant with this Consent Decree. Defendant

will notify Plaintiff in writing if it believes there is a criteria of this Consent Decree with which



                                                 6
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 7 of 11




it cannot substantially comply hereunder. All notifications must include reasonable d etail and

shall be made in the manner set forth in Paragraph 22.

               18.    Within thirty (30) days of either Party receiving notice as described in

Paragraph 17, the other Party will respond in writing to the notice. Within fifteen (15) days of

receipt of the response, the Parties will meet by telephone, or in person, in an attempt to

informally resolve the issue.

               19.    If the issue remains unresolved within thirty (30) days of the meeting

referenced in Paragraph 18, the Parties will each have an additional thirty (30) days to select

an expert and the two experts will mutually select an independent accessibility consultant with

substantial experience in accessible website design who will evaluate the particular item(s)

raised based on whether a person, who has a disability and uses screen reader software and has

average screen reader competency (“person with a Visual Impairment who has average screen

reader competency”), can adequately utilize the Website.

               20.    There will be no breach of this Consent Decree unless (a) the

independent accessibility consultant determines that a particular item(s) cannot be

accomplished by a person with a disability who has average screen reader competency using a

prominent commercially available screen reader such as Jaws, Voiceover, or NVDA in

combination with one of the following browsers (in versions of which that are currently

supported by their publishers): Internet Explorer, Firefox, Safari and Chrome; and (b)

Defendant fails to remedy the issue using Reasonable Efforts within a reasonabl e period of

time of not less than ninety (90) days of receiving the accessibility consultant’s opinion. If the

accessibility consultant believes that a reasonable time using Reasonable Efforts to remedy the

items found not to be usable is longer than ninety (90) days, then the Parties may agree on a



                                                7
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 8 of 11




longer time period without leave of Court so long as the extension is documented in writing

and executed by the Parties to this Agreement or their respective counsel. If the accessibility

consultant finds that a particular item found not to be usable cannot be remedied using

Reasonable Efforts, Defendant shall not be obligated to remedy that item.

               21.    Any of the time periods set forth in Paragraphs 17 through 20 may be

extended by mutual agreement of the Parties.

               22.    Any notice or communication required or permitted to be given to the

Parties hereunder shall be given in writing by e-mail and by overnight express mail or United

States first class mail, addressed as follows:

               For PLAINTIFF:                        Joseph H. Mizrahi, Esq.
                                                     Cohen & Mizrahi LLP
                                                     300 Cadman Plaza West, 12th Floor
                                                     Brooklyn, NY 11201
                                                     Email: Joseph@cml.legal
                                                     Phone: 929-575-4175
                                                     Fax: 929-575-4195


               For DEFENDANT:
                                                     Gregory B. Gill, Sr., Esq.
                                                     GILL & GILL, S.C.
                                                     501 S. Nicolet Road
                                                     Appleton, WI 54914
                                                     Email: gillsr@gillandgillsc.com
                                                     Phone: 920-739-1107
                                                     Fax: 920-739-3027




                                       MODIFICATION




                                                 8
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 9 of 11




               23.    No modification of this Consent Decree shall be effective unless in

writing and signed by authorized representatives of all Parties.

                        ENFORCEMENT AND OTHER PROVISIONS

               24.    The interpretation and enforcement of this Consent Decree shall be

governed by the laws of the State of New York.

               25.    This Consent Decree contains the entire agreement of the Plaintiff and

the Defendant concerning the subject matter described in Paragraph 3, other than the terms of

the Settlement Agreement, and no other statement, promise, or agreement, either written or

oral, made by any party or agent of any party, that is not contained in this Consent Decree, and

concerns the subject matter described in Paragraph 3, shall be enforceable, other than the

Settlement Agreement.

               26.    If any provision of this Consent Decree is determined to be invalid,

unenforceable, or otherwise contrary to applicable law, such provision shall be deemed restated

to reflect as nearly as possible and to the fullest extent permitted by applicable law its original

intent and shall not, in any event, affect any other provisions, all of which shall remain valid

and enforceable to the fullest extent permitted by applicable law.

         PERSONS BOUND AND INTENDED THIRD-PARTY BENEFICIARIES

               27.    The Parties to this Consent Decree expressly intend and agree that this

Consent Decree shall inure to the benefit of all persons with a disability as defined by the

ADA, indicating those who utilize a screen reader to access the Websites, which disabled

persons shall constitute third-party beneficiaries to this Consent Decree.

               28.    The signatories represent that they have the authority to bind the

respective parties, Plaintiff and Defendant to this Consent Decree.



                                                9
Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 10 of 11
        Case 1:20-cv-05142-MKV Document 10 Filed 11/02/20 Page 11 of 11




     COURT APPROVAL, ADOPTION, AND ENTRY OF THE CONSENT DECREE

               THE COURT, HAVING CONSIDERED the pleadings, law, underlying facts

and having reviewed this proposed Consent Decree,

FINDS AS FOLLOWS:

       1)      This Court has personal jurisdiction over Plaintiff and Defendant for the

purposes of this lawsuit pursuant to 28 U.S.C. §§ 1331;

       2)      The provisions of this Consent Decree shall be binding upon the Parties;

       3)      Entry of this Consent Decree is in the public interest;

       4)      This Consent Decree is for settlement purposes only and does not constitute an

admission by Defendant of any of the allegations contained in the Complaint or any other

pleading in this lawsuit, nor does it constitute any finding of liability against Defendant;

       5)      The Plaintiff is acting as a private attorney general in bringing this lawsuit and

enforcing the ADA; and

       6)      This Consent Decree shall be deemed as adjudicating, once and for all, the

merits of each and every claim, matter, and issue that was alleged, or could have been alleged

by Plaintiff based on, or arising out of, or in connection with, the allegations in the Complaint.

               NOW THEREFORE, the Court approves the Consent Decree and in doing so

specifically adopts it and makes it an Order of the Court.

               DONE AND OREDERED in Chambers at New York, New York this 2nd

day of November, 2020.

               The Clerk of Court respectfully is directed to close this case.


                                                     ___________________________
                                                     MARY KAY VYSKOCIL
                                                     UNITED STATES DISTRICT JUDGE

                                                11
